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                                            May 23, 2022


 VIA ECF

 Hon. Rachel P. Kovner
 Hon. Vera M. Scanlon
 U.S. District Court
 Eastern District of New York
 225 Cadman Plaza E.
 Brooklyn, NY 11201

        Re:     Malancea v. Family Home Care Services of Brooklyn and Queens, Inc. Order
                Case 1:18-cv-03261-RPK-VMS

 Dear Judge Kovner and Magistrate Judge Scanlon:

         We are Defendant’s counsel in this case. This letter is submitted on behalf of both parties
 pursuant to the Court’s Order directing them to report on the status of the parties’ dispute regarding
 the global arbitration.

         The global arbitration before Arbitrator Martin F. Scheinman based on the 1199SEIU class
 grievance that encompasses more than 30 home health care agencies, including Defendant Family
 Home Care Services of Brooklyn and Queens, Inc. concluded on February 23, 2022 with the
 issuance of a Final Award by the Arbitrator. Subsequently, on March 1, 2022, 1199SEIU filed a
 petition, unopposed by Respondents, to confirm the Final Award pursuant to the Labor
 Management Relations Act. However, other interested parties have sought to oppose confirmation
 of the Final Award. To date, the Court has not issued a decision and order concerning the Petition
 to Confirm the Final Award.

         Accordingly, the parties’ respectfully request that Your Honor continue to stay this matter
 pending resolution of the Petition to Confirm the Final Award. The parties will report any
 significant developments to the Court and continue to submit status reports as frequently as the
 Court may direct.

                                                   Respectfully submitted,

                                                   s/ Philip K. Davidoff
                                                   Philip K. Davidoff




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